Case 1:21-cv-05053-ENV-RER Document 28 Filed 06/21/22 Page 1 of 1 PageID #: 87




                                                             June 21, 2022

Via ECF

Judge Eric N. Vitaliano
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

               Re:      Lieberman v. C.A. Goldberg, PLLC, et al.
                        1:21-cv-05053-ENV-RER

Dear Judge Vitaliano:

        I represent the Plaintiff in the above-referenced action. I write jointly with counsel for
Defendants in accordance with the Order of June 8, 2022 directing the parties to propose a joint
briefing schedule for (1) Plaintiff’s Rule 12(b)(6) motion to dismiss Defendant C.A. Goldberg
PLLC’s counterclaim for Faithless Servant and (2) Defendants’ motion for summary judgment on
Plaintiff’s claim for pregnancy discrimination and Defendant C.A. Goldberg’s counterclaim for
Faithless Servant. The parties propose that each motion be filed separately on the following
schedule:

                July 8, 2022              Initial motion papers to be filed
                August 17, 2022           Opposition papers to be filed
                September 12, 2022        Replies to be filed

       The parties thank the Court for its consideration of this matter.

                                                             Respectfully,


                                                             BRIAN HELLER

cc:    All counsel – via ECF
